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EXHIBIT 5
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David Corrigan

From: Robert H. Smallenberg [rsmallenberg@metrolawva.com]
Sent: Tuesday, May 10, 2011 5:16 PM

To: David Corrigan

Subject: Re: Friday

Ive asked her to call me tomorrow with a copy of Kyss’ school schedule in hand. Will call you after ] talk to
her.

Still looking to get you the rule 26 disclosure and our answers to discovery by Friday.
Rob
Sent from my iPhone

On May 10, 2011, at 5:08 PM, "David Corrigan" <dcorrigan@hccw.com> wrote:

Thanks. How soon can we do it if not Friday?

From: Robert H. Smallenberg <rsmallenberg@metrolawva.com>

To: David Corrigan

Sent: Tue May 10 16:27:29 2011

Subject: Re: Friday .
I'm am out of office but my office informs me Sakia Hall called and said Kyss has the NJ
equivalent of SOLs that day.

Will call you tomorrow.

Sent from my iPhone

On May 10, 2011, at 1:07 PM, "David Corrigan" <dcorrigan@heew.com> wrote:

Are we on for this Friday for depositions, Rob?

Please let me know as soon as possible.

Thanks.

David

David P. Corrigan
Case 3:11-cv-00065-JRS Document 8-5
Harman, Claytor, Corrigan & Wellman, P.C.

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